Case 20-02191-CMB           Doc 14 Filed 03/19/21 Entered 03/19/21 11:19:36              Desc Order
                              Governing Pretrial Matte Page 1 of 1


  Form 504 (CMB Form)
                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA


  IN RE:

  Robert Halpin                                   :   Bankruptcy No.: 18−22057−CMB
       Debtor(s)                                  :
                                                  :   Chapter: 7
  A.G. Cullen Construction, Inc.                  :
                                                  :   Adversary No.: 20−02191−CMB
            Plaintiff(s),                         :
                                                  :
       v.                                         :
  Robert O. Halpin                                :
                                                  :
            Defendant(s).                         :



                            ORDER GOVERNING PRETRIAL MATTERS

     AND NOW, this The 19th of March, 2021 , whereas the Parties in the above−captioned adversary
  proceeding filed their Early Conference Certification and Stipulation, It is hereby ORDERED,
  ADJUDGED, AND DECREED as follows:

      The Early Conference Certification and Stipulation is adopted in its entirety as filed by the
  parties.
      The Early Conference Certification and Stipulation is adopted with the following amendments:


  At Pittsburgh, Pennsylvania.
